






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-03-221 CR


____________________



JULIAN CORDELL JACK, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the Criminal District Court


Jefferson County, Texas


Trial Cause No. 76723






MEMORANDUM OPINION (1)


	Julian Cordell Jack was convicted and sentenced on an indictment for aggravated
robbery.  Jack filed a notice of appeal on May 6, 2003.  The trial court entered a
certification of the defendant's right to appeal in which the court certified that this is a
plea-bargain case, and the defendant has no right to appeal.  See Tex. R. App. P.
25.2(a)(2).  The trial court's certification has been provided to the Court of Appeals by the
district clerk.

	On May 12, 2003, we notified the parties that the appeal would be dismissed unless
an amended certification was filed within thirty days of the date of the notice and made a
part of the appellate record by June 11, 2003.  See Tex. R. App. P. 37.1.  The record has
not been supplemented with an amended certification.  Because a certification that shows
the defendant has the right of appeal has not been made part of the record, the appeal must
be dismissed.  See Tex. R. App. P. 25.2(d).

	Accordingly, we dismiss the appeal for want of jurisdiction.

	APPEAL DISMISSED.

					

								PER CURIAM


Opinion Delivered June 19, 2003 

Do Not Publish

Before McKeithen, C.J., Burgess and Gaultney, JJ.
1. Tex. R. App. P. 47.4.


